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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                              Case No.: 23-cv-22276-JB

 PATRICK MULLER and MOUNA
 BOUZID,

              Plaintiffs,
 v.

 ITEB ZAIBET and LOLITA C.
 REBULARD, et al.,

             Defendants.
 ________________________________/

               ORDER ON DEFENDANTS JOHNNY PREVILUS,
             YVETTE TENORD, AAA PLUS FINANCIAL GROUP
          INC., RES INVESTMENT INTER, INC., AND INFINITE RES
         INVESTMENT, LLC’S MOTION FOR SUMMARY JUDGMENT

       THIS CAUSE came before the Court on Defendants, Johnny Previlus, Yvette

 Tenord, AAA Plus Financial Group Inc., Res Investment Inter, Inc., and Infinite Res

 Investment, LLC’s (collectively, “Previlus and Affiliates”) Motion for Summary

 Judgment (the “Motion”), ECF No. [132]. Plaintiffs, Patrick Muller and Mouna

 Bouzid, filed a response in opposition, and Previlus and Affiliates filed a reply. ECF

 Nos. [133], [136]. The Court held oral argument on the Motion on July 19, 2024 (the

 “Oral Argument”). Upon careful review of the Motion, the arguments of the parties,

 the relevant authorities, and for the reasons stated on the record at the Oral

 Argument, which are incorporated herein, the Court ruled that the Motion was

 DENIED.




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 I.        FACTUAL BACKGROUND

        Plaintiffs filed the instant suit against Previlus and Affiliates for unjust

 enrichment. See ECF No. [1] at 17–18. The claim arises from allegations that

 Previlus and Affiliates aided Iteb Zaibet (“Zaibet”) and Lolita C. Rebulard

 (“Rebulard”) in misappropriating Plaintiffs’ funds, which funds were sent to Zaibet

 and Rebulard for purposes of participating in a real estate investment opportunity

 that turned out to be a sham. Id. at 2. According to Plaintiffs, Previlus and Affiliates

 assisted by accepting Plaintiffs’ money and using the funds, at the direction of Zaibet

 and Rebulard, to acquire various assets and pay extraneous debts. Id.

        Plaintiffs allege that they conferred a benefit by transferring funds to Zaibet

 and Rebulard (ostensibly through Previlus and Affiliates’ accounts) for purposes of

 what they thought was a real estate investment. Id. at 17–18. According to Plaintiffs,

 Previlus and Affiliates knowingly accepted that benefit by “distribut[ing] and us[ing]

 [Plaintiffs’ funds] . . . for unlawful purposes to the detriment of Plaintiffs,” including

 for Previlus and Affiliates’ “personal use and exclusive benefit.” Id. It would be

 inequitable, Plaintiffs say, to allow Previlus and Affiliates to retain the benefits

 conferred on them. Id. In response to Plaintiffs’ Complaint, Previlus and Affiliates

 raised the affirmative defense of unclean hands. ECF Nos. [114] at 20; [115] at 20;

 [116] at 20; [117] at 20; [118] at 20.

 II.       THE INSTANT MOTION

        Previlus and Affiliates move for summary judgment on Plaintiffs’ unjust

 enrichment claim, arguing it is barred by the doctrine of unclean hands. ECF No.

 [132] at 6. Specifically, Previlus and Affiliates assert that Plaintiffs’ hands are
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 unclean because they intended to invest in Bitcoin as part of the transactions giving

 rise to case, an illegal investment under the laws Plaintiffs’ home country, Tunisia.

 Id. at 7–8. According to the Motion, Plaintiffs engaged in multiple “interwoven

 transactions” with Zaibet and Rebulard, which “integrally included a scheme by

 which they intended to invest in Bitcoin.” Id. at 6–7. This is purportedly evidenced

 by a separate case filed by Plaintiffs in Miami-Dade County Court (the “Dade County

 Case”) against Zaibet, Rebulard, and other defendants (but not Previlus and

 Affiliates). Id. at 7. The complaint in that case references “different investment

 opportunities” presented by Zaibet and Rebulard that turned out to be fraudulent,

 including the real estate investment scheme at issue here, an investment in Bitcoin,

 and “an industrial project in the field of textiles.” ECF No. [132-2] at 3, 5–7. Previlus

 and Affiliates emphasize that in this case, Plaintiffs have omitted reference to, and

 denied involvement in, the Bitcoin transaction, therefore taking positions

 inconsistent with their stated positions in past cases. ECF No. [132] at 7–8.

       In response, Plaintiffs argue the Complaint in the Dade County Case upon

 which Previlus and Affiliates rely was unverified and does not constitute evidence for

 purposes of a motion for summary judgment. ECF No. [133] at 4. As to the merits of

 the Motion, Plaintiffs say Previlus and Affiliates have not met either element of the

 unclean hands defense because (1) the alleged wrongdoing involving Bitcoin is

 unrelated to the unjust enrichment claim pending here, and (2) Previlus and

 Affiliates were not injured as a result of such purported misconduct. Id. at 5–9.




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        Previlus and Affiliates reply by arguing that the omission of specific allegations

 involving Bitcoin in this case is not dispositive of the relationship between the Bitcoin

 transaction and the claims asserted here. ECF No. [136] at 2. Indeed, they maintain

 that the nexus between the Bitcoin transaction and real estate transaction “could not

 possibly be . . . closer” because both transactions arose from a “series of investments”

 between Plaintiffs and Zaibet and Rebulard. Id. at 2. Previlus and Affiliates add

 that they have, in fact, suffered harm from Plaintiffs’ “[i]llegal [a]ctivities” because

 Plaintiffs have filed two separate suits against them, and “in defending such

 duplicative actions, Previlus and [Affiliates] . . . have been required to pay their

 reasonable costs and attorneys’ fees for counsel in both sets of litigation against

 them.”   Id. at 3 (emphasis in original).      This, “coupled with Plaintiffs’ evolving

 theories as to the relevance of the Bitcoin investment as a part of these lawsuits,” has

 injured Previlus and Affiliates. Id. Finally, Previlus and Affiliates reiterate that

 Plaintiffs are bound by their allegations in the Dade County Case and should not be

 permitted to take contradictory positions. Id. at 3–4. Previlus and Affiliates counter

 Plaintiffs’ claim that these allegations were unverified, as Plaintiffs included them in

 an Amended Verified Complaint filed in the Dade County Case. Id. at 4.

 III.      LEGAL STANDARD

        Summary judgment is proper when there is no genuine dispute as to any

 material fact and the moving party is entitled to judgment as a matter of law. Celotex

 Corp. v. Catrett, 477 U.S. 317, 322 (1986). A genuine issue of material fact is one with

 “‘a real basis in the record,’” such that “a reasonable jury could return a verdict for



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 the nonmoving party.” Mann v. Taser Int’l, Inc., 588 F.3d 1291, 1303 (11th Cir. 2009)

 (quoting Hairston v. Gainesville Sun Pub. Co., 9 F.3d 913, 919 (11th Cir. 1993));

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). The moving party has the

 initial burden of showing the absence of a genuine issue of material fact. Clark v.

 Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991). To determine whether the

 movant satisfied this burden, courts view the movant’s evidence and all factual

 inferences arising therefrom in the light most favorable to the non-movant. Denney

 v. City of Albany, 247 F.3d 1172, 1181 (11th Cir. 2001) (quoting Burton v. City of Belle

 Glade, 178 F.3d 1175, 1187 (11th Cir. 1999)). Once the movant carries its burden,

 the non-moving party must offer specific evidence showing a genuine issue for trial.

 Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

 IV.       ANALYSIS

       Previlus and Affiliates’ Motion for Summary Judgment fails because there is a

 genuine dispute of material fact as to the defense of unclean hands.

       For a defendant to successfully avail itself of the doctrine of unclean
       hands, it must satisfy two requirements. First, the defendant must
       demonstrate that the plaintiff’s wrongdoing is directly related to the
       claim against which it is asserted. . . . Second, even if directly related,
       the plaintiff’s wrongdoing does not bar relief unless the defendant can
       show that it was personally injured by her conduct.

 Calloway v. Partners Nat. Health Plans, 986 F.2d 446, 450–51 (11th Cir. 1993)

 (internal citations omitted). Here, Previlus and Affiliates argue that “[t]here could

 not possibly be a closer nexus between the wrongful, illegal activity of Plaintiffs

 [involving Bitcoin] and the claims in this action” because the real estate transaction

 at issue here and the Bitcoin transaction described in the Dade County Case are two


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 parts of a series of interconnected investments between Plaintiffs and Zaibet and

 Rebulard. ECF No. [136] at 2. Plaintiffs, on the other hand, maintain that the two

 were “separate transaction[s],” and that the Bitcoin portion does not form the basis

 of their claim in this case. ECF No. [133] at 6. As to the second element, Previlus

 and Affiliates insist they were injured by Plaintiffs’ alleged wrongdoing because they

 have had to defend against multiple related lawsuits filed by Plaintiffs and adapt to

 Plaintiffs’ “evolving theories as to the relevance of the Bitcoin investment . . . .” ECF

 No. [136] at 3. By contrast, Plaintiffs argue Previlus and Affiliates were not injured

 by Plaintiffs’ purportedly illegal conduct involving Bitcoin. ECF No. [133] at 8–9.

 Each party’s stance has a real basis in the record. Indeed, a reasonable jury could

 find that the Bitcoin transaction is unrelated to the claims in this case, and that

 Previlus and Affiliates were not injured by Plaintiffs’ allegedly unlawful activities,

 such that the unclean hands doctrine is unavailable.

       The record before the Court thus reflects material facts in dispute regarding

 at least one of the required elements of the unclean hands defense. Therefore,

 Previlus and Affiliates have not shown they are entitled to judgment as a matter of

 law as set forth in the Motion. Accordingly, for the foregoing reasons, and those

 articulated on the record at the Oral Argument, Previlus and Affiliates’ Motion for

 Summary Judgment is hereby DENIED.

       DONE AND ORDERED in Miami, Florida, this 5th day of August, 2024.


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                                   JACQUELINE BECERRA
                                   UNITED STATES DISTRICT JUDGE


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